20-10881-tmd Doc#141 Filed 12/16/20 Entered 12/16/20 13:17:35 Main Document Pg 1 of
                                         7



                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

                                                                 §
      IN RE:                                                     §            CHAPTER 11
                                                                 §
         WC 4TH AND COLORADO, LP, 1                              §            CASE NO. 20-10881-TMD
                                                                 §
                                           DEBTOR.               §
                                                                 §

                           DEBTOR’S RESPONSE TO MOTION TO COMPEL
                              RESPONSES TO WRITTEN DISCOVERY


  TO THE HONORABLE TONY M. DAVIS, UNITED STATES BANKRUPTCY JUDGE:

           WC 4th and Colorado, LP (“Debtor”) hereby responds to the Motion to Compel filed by

  Colorado Third Street, LLC (“CTS” or the “Noteholder”).

           1.       The Noteholder is the Debtor’s alleged secured creditor, asserting that it is owed

  over $8 million.

           2.       On November 10, 2020, the Noteholder moved for relief from the automatic stay,

  alleging that the Debtor’s proposed plan of reorganization fails to meet the requirements set forth

  in Section 362(d)(3)(A). Hearing on that matter is scheduled for December 18, 2020.

           3.       Counsel for Noteholder misstates and mischaracterizes the conversations and

  communications between it and counsel for Debtor, and as such counsel for Debtor is compelled

  to clarify the issues for the Court, as further set forth below.

           4.       The Noteholder issued the written discovery requests that are the subject of its

  Motion to Compel on November 20, 2020 but failed to either obtain the Debtor’s agreement to



  1
    The Debtor in this chapter 11 case, along with its last four digits of its federal tax identification number is: WC 4th
  and Colorado, LP (1759).



  5571441.2 FJR 23061.20
20-10881-tmd Doc#141 Filed 12/16/20 Entered 12/16/20 13:17:35 Main Document Pg 2 of
                                         7



  respond to that discovery or to seek Court order requiring the Debtor to respond to that discovery

  on an expedited basis. As such, Counsel for the Debtor conferred with Counsel for the Noteholder

  on this issue and the parties agreed that no expedited discovery was sought or agreed.

         5.      On or about December 12, 2020, counsel again conferred about the discovery

  requests. In an offer of compromise and efficiency, counsel for Debtor informed counsel for

  Noteholder that it would produce documents responsive to the Noteholder’s discovery requests in

  the form of the exhibits it would be designating for hearing on December 14, 2020. In that

  conversation, counsel for the Debtor agreed (and hereby confirms its agreement) that it would not

  seek to introduce any documents other than those introduced or referenced in exhibits for purposes

  of the Lift Stay Hearing. All exhibits that Debtor intends to use at the Lift Stay Hearing were

  indeed produced on December 14, 2020 as agreed, with the only exception being the Debtor’s

  reservation of introduction of loan term sheet related to replacement financing on the Property for

  in camera review, given the very serious issues and concerns outlined in the Declaration of Natin

  Paul (the “Paul Declaration”) included as Exhibit 3 on the Debtor’s exhibit list, and attached hereto

  as Exhibit B. As set forth in the Paul Declaration, that the term sheet contains information that the

  Debtor believes will be used improperly by the Noteholder to thwart Debtor’s reorganization

  efforts. Notwithstanding the foregoing, Debtor has, for the Court’s reference, included as Exhibit

  A its responses to the Noteholder’s production requests which demonstrate that all information

  sought by Noteholder has already either been produced, was produced on December 14, 2020 as

  per the communications between counsel for the parties, or is reserved on the basis of the concerns

  articulated in the Paul Declaration.

         6.      The Noteholder also seeks responses to interrogatories that it issued as part of its

  written discovery. Again, although counsel for the Debtor understood there to be an agreement



                                                   -2-
20-10881-tmd Doc#141 Filed 12/16/20 Entered 12/16/20 13:17:35 Main Document Pg 3 of
                                         7



  that the Debtor’s December 14, 2020 exhibits would resolve Noteholder’s requests for production

  and interrogatory requests, the Debtor has also answered those interrogatories as reflected in the

  responses attached hereto as Exhibit A.

         Issues with Noteholder Interference with the Debtor’s Reorganization Efforts

         7.      The Noteholder in this case is affiliated with seven other note purchasers of loans

  to affiliates of the Debtor. Three of those affiliates are debtors before this Court, with affiliate

  noteholders as the secured Noteholder in bankruptcy cases: In re WC Teakwood Plaza, LLC, Case

  No. 20-11104 [Note Holder: 8209 Burnet, LP]; In re WC 4811 South Congress, LLC, Case No.

  20-11105 [Note Holder: 4811 SoCo, LP], and In re Custer Creek Center Property, LLC, Case No.

  20-11202 [Note Holder: Spring Custer, LLC.]

         8.      As more fully set forth in the Paul Declaration, affiliate noteholders, who are

  controlled by the same control persons, have intentionally interfered with the loan payoffs of those

  affiliates. That interference is the subject of state court proceedings in which the affiliate borrower

  have had to seek court intervention in the form of temporary restraining order, temporary

  injunction and a demand for specific performance, all seeking the same thing – a simple payoff

  letter and payoff instructions to satisfy the loan in full, avoid a foreclosure, and avoid a bankruptcy

  for those affiliate borrowers.

         9.      Though the Noteholder and its affiliate noteholders purport to designate Justin

  Bayne as the sole manager and member, the only person who has corresponded with the Debtor or

  the affiliated borrowers is Mark Riley, the Noteholder’s in-house general counsel. As was set forth

  in Debtor’s filings in connection to its motions for protective order filed in affiliate case WC

  Teakwood Plaza, LLC (Case No. 20-11104) and WC 4811 South Congress, LLC (Case No. 20-

  11105), Mark Riley is the uncle of Justin Bayne, a fact that was not disclosed when the Noteholder



                                                    -3-
20-10881-tmd Doc#141 Filed 12/16/20 Entered 12/16/20 13:17:35 Main Document Pg 4 of
                                         7



  in this case sought to exclude in-house counsel for the Debtor with a familial relationship to the

  control person from the protective order entered in this case. But even further, on information and

  belief, Mark Riley is not acting in the capacity as in-house counsel, but rather has taken on the

  business role of directing all operations, communications and payoffs. He is also the only person

  designated by Noteholder as a Qualified Person under the Court’s protective order. Further, Mr.

  Riley is also listed as the purported substitute trustee for the various affiliate noteholders.

  Obviously, the Noteholder cannot be its own substitute trustee.

         10.     As more fully set forth in the Application for Specific Performance filed in state

  court by one of Debtor’s affiliates, WC 4th and Rio, LP (“WC Rio”) (submitted as Debtor’s Exhibit

  13 for the Lift Stay Hearing, and attached hereto as Exhibit C), the funds for the payoff of that

  noteholder have been escrowed with title since November 25, 2020, awaiting payoff instruction

  from affiliate noteholder. Even after the refinance noteholder for WC Rio deposited refinance

  proceeds into title on November 25, 2020, the affiliate noteholder continues to refuse to provide

  payoff instruction. WC Rio has been forced to seek a Temporary Restraining Order to prevent

  purported substitute trustee Mark Riley from foreclosing on the property on December 1, 2020,

  while knowing full proceeds were at title in advance of that date and refusing to accept the

  proceeds. At the TRO hearing, counsel for that affiliate noteholder announced that the affiliate

  noteholder had withdrawn its foreclosure notice in light of the escrowed funding. (submitted as

  Debtor’s Exhibit 16 for the Lift Stay Hearing, and attached hereto as Exhibit D). Those funds

  remain at title as of the date of this Declaration, and WC Rio has been forced to file an Application

  for Specific Performance simply to require Noteholder to provide the payoff instructions it is

  contractually obligated to provide and that counsel Dodson represented would be provided by Mr.

  Riley. Even more egregiously, yesterday December 15, 2020, Mark Riley again posted the WC



                                                   -4-
20-10881-tmd Doc#141 Filed 12/16/20 Entered 12/16/20 13:17:35 Main Document Pg 5 of
                                         7



  Rio property for foreclosure on January 5, 2020, while continuing to refuse to cooperate with title

  and Borrower to provide payoff information. Exhibit E.

           11.      The affiliate noteholders’ behavior has crossed all bounds of appropriate

  “Noteholder” behavior. But it is not limited to the actions described above and in the Paul

  Declaration. In Noteholder’s production in this matter, are communications between Mark Riley

  and Endeavor Real Estate with the subject line “Pre Qualification for IHOP Foreclosure Auction”

  dated August 3, 2020. Exhibit F. The IHOP property is owned by affiliate borrower WC 707 Cesar

  Chavez, LLC2. In that those emails, Mark Riley communicates to Endeavor that he has opened

  title for the foreclosure sale of the IHOP property with Stewart Title Company and provides the

  file number and wire instructions to Endeavor, even going so far as to request proof of funds for

  the sale. But there is a MAJOR problem with this communication – Mark Riley/Cesar Rainey,

  LLC did not even acquire the note on the IHOP property until September 9, 2020. Exhibit G. In

  other words, Mr. Riley was soliciting bids, proof of funds, opening title escrow and providing

  wiring information to bidders for an alleged August 2020 foreclosure sale on a property secured

  by a note he did not own until September 2020.

           12.      That is not the first time that affiliates of this Noteholder have inappropriately

  attempted to sell the property that is the subject of the notes they were going to purchase or

  purchased. This Court is aware of the actions of the noteholder in the WC 4811 South Congress,

  LLC bankruptcy proceeding3 involving the marketing of the Debtor’s property for sale through




  2
   WC 707 has already had to obtain a temporary restraining order and is now seeking a temporary injunction to
  prevent affiliate noteholder Cesar Rainey, LLC from foreclosing while failing to provide a payoff letter to the
  affiliate borrower.

  3 Case No. 20-11105 [Note Holder: 4811 SoCo, LP]


                                                          -5-
20-10881-tmd Doc#141 Filed 12/16/20 Entered 12/16/20 13:17:35 Main Document Pg 6 of
                                         7



  the NewQuest brokerage firm.       WC 4811 South Congress’ Motion to Enforce Rule 2004

  Deposition Order [DOC 17].

         13.     For all of the forgoing reasons, the Debtor has significant concerns about sharing

  any information with the Noteholder and its inhouse and outside counsel regarding Debtor’s

  refinancing source, but agrees to provide it to the Court for in camera review.

         Accordingly, the Debtor respectfully requests that the Noteholder’s Motion to Compel be

  denied and the Debtor be granted any other relief as the Court deems appropriate.




                                                  -6-
20-10881-tmd Doc#141 Filed 12/16/20 Entered 12/16/20 13:17:35 Main Document Pg 7 of
                                         7



  DATED: December 16, 2020

                                                         Respectfully submitted,

                                                         FISHMAN JACKSON RONQUILLO PLLC

                                                           /s/ Mark H. Ralston
                                                         Mark H. Ralston
                                                         State Bar No. 16489460
                                                         Fishman Jackson Ronquillo PLLC
                                                         Three Galleria Tower
                                                         13155 Noel Road, Suite 700
                                                         Dallas, TX 75240
                                                         Telephone: (972) 419-5544
                                                         Facsimile: (972) 4419-5500
                                                         E-mail: mralston@fjrpllc.com

                                                         COUNSEL FOR DEBTOR WC 4TH
                                                         AND COLORADO, LP


                                   CERTIFICATE OF SERVICE

         This is to certify that the undersigned caused a true and correct copy of the foregoing
  document to be served on the parties listed on the attached service list by First Class United States
  Mail and on all persons receiving electronic notice of filings in this case through the ECF system,
  and to Noteholder’s counsel via e-mail, on this, the 16th day of December, 2020.

         Jason G. Cohen
         jason.cohen@bracewell.com

         Christopher L. Dodson
         chris.dodson@bracewell.com


                                                          /s/ Mark H. Ralston
                                                         Mark H. Ralston




                                                   -7-
